Michael L. McLaughlin, pro per
c/o Wildwood Pretrial Facility
5 Chugach Ave., Bldg. #5
Kenai, Alaska 99611-7098
IN THE DISTRICT COURT FOR THE UNITED STATES
DISTRICT OF ALASKA AT ANCHORAGE ALASKA
MICHAEL L. MCLAUGHLIN,

Plaintiff;
vs

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SHANNON S. McCLOUD, )
)

Defendant(s). )

)

)

Docket No. #

 

 

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C L AIM N UM B E R T H RE E

Case 3:18-cv-00085-SLG Document 1-3 Filed 03/23/18 Page 1 of 7
_ DEPARTMENT OF CORRECTIONS

 

STATE OF ALASKA
REQUEST FOR INTERVIEW
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Instructions: Requests must be specific and state the action being requested (i.e., interview, hearing, etc.). Requests are toe responded to by staff in

 

 

 

 

 

 

 

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a timely manner.
Distribution: Original to Case Record

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Department of Corrections, Form 808.11A hwe

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STATE OF ALASKA DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

PRISONER GRIEVANCE
PART ONE

PRINT NAME INSTITUTION/MODULE OBSCIS # FSOLOG # DIO LOG#
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INCIDENT DATE Ow ce aeur il 7@| is TODAY'S DATE 2 2be iG
BEFORE YOU COMPLETE THIS FORM: RCLE If you said “NO”
1. Is this about an incident that is other than a disciplinary action or (és) No | toany questions,

Classification decision? the grievance
2. Did you first talk to the right person to informally solve the incident? No may be screened
3. Did you file a Request for Interview form (cop-out) on this incident and es > No and retumed.

receive a response?

 

 

 

INSTRUCTIONS:

1. Limit this grievance to ONE incident.

2. Attach the completed Request for Interview form copy OR describe HOW you attempted to solve it informally:
a. WHO did you talk to? Heue Wkp mune cnrrtacpeme o WIR DuMooue Girh )
b. WHEN did you talk with him/her? Moauy Thess. (See AttReK Biaeue) (Somemuer ,

ONT Were you told? Ste hitheuers Commucenr (29) avo Exwsas Co enees
3.__Attach up to two additional pages of narrative to describe the incident.

AFFIRMATION and SIGNATURE:
1. | affirm that this grievance is filed within 30 days of the incident or my knowledge of the incident.

2. | affirm the following statements are true and accurate and that | may be di iplined for providing false
information pursuant to 22 AAC 05.400. Q i 0

PRISONER'S SIGNATURE: —t_ Ay Yur

 

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| acknowledge receipt of this grievance and have issued the log number above for reference. Please refer to
assigned log number with any inquiries about this grievance

 

 

 

 

 

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DATE STANDARDS OFFICER ,
RECEIVED: 2/2ws SIGNATURE: Jd

 

Page 1 of 2

e of Corrections, Form 808.03C | NE “i ATE C Oo Py
Case 3:18-cv-00085-SLG Document 1-3 Filed 03/23/18 Page 3 of 7

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Case 3:18-cv-00085-SLG Document 1-3 Filed 03/23/18 Page 4 of 7
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Case 3:18-cv-00085-SLG Document 1-3 Filed 03/23/18 Page 5 of 7
STATE OF ALASKA

To:

GRIEVANCE SCREENING FORM

Prisoner's Name: McLaughlin, Michael

Offender Number: 166227

DIO Grievance #: WP 18-19

FSO Grievance #: -

Institution: Wildwood Correctional Complex

DEPARTMENT OF CORRECTIONS

 

Your grievance is being returned to you for one or more reasons below:

 

The action or decision being grieved is not a grievable issue as specified in section VI.E. of DOC Policy #808.03.

 

The grievance is not within the institution's or the Department's jurisdiction.

 

The issued grieved was not first addressed informally.

 

This issue was already grieved by the prisoner or by another prisoner and resolved.

 

The grievance was submitted on behalf of another prisoner who is able to file his or her own grievance.

 

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The grievance form is not filled out completely.

 

The grievance was not filed within 30 days of the action or incident.

 

= |a

The grievance is grieving on action not yet taken.

 

The grievance contains inappropriate use of obscene or profane words.

 

The grievance is factually incredible or clearly devoid of merit.

 

The specific relief sought is unclear.

 

The grievance raises unrelated issues that should be presented in separate grievances.

 

 

The grievance is against the Facility Manager, but is not for action taken directly by the Facility Manager.

 

The grievance is on an issue the prisoner is currently litigating in the court system.

 

The above noted reason (s) for screening your grievance is not self-explanatory. The following written
explanation is provided to clarify the above noted screening decision.

This grievance consists of multiple statements regarding infringement on Constitutional rights by numerous staff
members. No specific incident is addressed which can be satisfactorily answered in a single investigation. Some
of the same matters have been brought up in a grievance against the Facility Manager which has been

forwarded to the Director of Institutions (WP 18-18). Requested relief is not specific to a complaint and may be

 

 

taken as flippant and inappropriate for a formal procedure.

 

 

 

You have two options in response to a screened grievance. (See Policy 808.03.)

  

1. You can correct the deficiency that caused a grievance to be screened and resubmit the grievance
within two working days of receipt of the screening form; or
2. You may appeal the Screened Grievance if you believe the screening decision is incorrect. You
must state in writing on the Request for Interview Form (Form 808.11A) why the screening is
incorrect, attach it to the grievance and the screening form, and return it to the Facility Standards
Officer within two working days after receiving the screening decision.
03/06/2018
Date Signaturne-f Facility Standards Officer
Distribution: Original to Prisoner Case File

Facility Standards Officer
Prisoner

Form 808.03A INMATE COPY
Rev. 10/06 Case 3:18-cv-00085-SLG Document1-3 Filed 03/23/18 Page 6 of 7

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STATE OF ALASKA DEP. _. TMENT OF CORRECTIONS
REQUEST FOR INTERVIEW
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Employee Signature: Date:

 

 

 

 

 

Instructions: Requests must be specific and state the action being requested (i.e., interview, hearing, etc.). Requests are to be responded to
by staff in a timely manner.

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ep ent of Corrections, Form 808.11A
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